                                Case
                                 Case2:18-cv-00964-JAD-GWF
                                      2:18-cv-00964-JAD-GWF Document
                                                             Document30-2 Filed11/19/18
                                                                      32 Filed  10/31/18 Page
                                                                                          Page12ofof23



                       1        MONTGOMERY Y. PAEK, ESQ., Bar # 10176
                                TIMOTHY W. ROEHRS, ESQ., Bar # 9668
                       2        LITTLER MENDELSON, P.C.
                                3960 Howard Hughes Parkway
                       3        Suite 300
                                Las Vegas, NV 89169-5937
                       4        Telephone: 702.862.8800
                                Fax No.:      702.862.8811
                       5        Email: mpaek@littler.com
                                Email: troehrs@littler.com
                       6
                                Attorneys for Defendant
                       7        ARCADIA, INC.
                       8
                                                          UNITED STATES DISTRICT COURT
                       9
                                                                 DISTRICT OF NEVADA
                    10

                    11
                                MICHAEL DELGADO, an individual;                Case No. 2:18-cv-00964-JAD-GWF
                    12
                                      Plaintiff,
                    13                                                         Order Approving
                                                                               [PROPOSED]       Settlement
                                                                                             ORDER         Agreement
                                                                                                      APPROVING
                                vs.                                            and Dismissing and
                                                                               SETTLEMENT         Closing Case
                                                                                               AGREEMENT
                    14
                                ARCADIA, INC., a California corporation;              ECFNo.
                                                                                          No.30
                                                                                              30
                    15          and DOES 1 through 100, inclusive;                   ECF

                    16                Defendant.
                    17

                    18                The above-captioned case is presently before the Court on the Parties’ Joint Motion and

                    19         Stipulation For An Order Approving Confidential Settlement And Dismissing This Case With

                    20         Prejudice.   The Parties have requested that the Court review and approve the “Confidential

                    21         Settlement Agreement and General Release” (hereinafter “Settlement Agreement”) in this case,

                    22         because Plaintiff’s Amended Complaint includes a claim under the Fair Labor Standards Act, 29

                    23         U.S.C. § 207, et seq.

                    24         ///

                    25         ///

                    26         ///

                    27         ///

                    28         ///
LITTLER MENDELSON, P.C.
        ATTORNEYS AT LAW
  3960 Howard Hughes Parkway
            Suite 300
   Las Vegas, NV 89169-5937
          702.862.8800
                                  Case
                                   Case2:18-cv-00964-JAD-GWF
                                        2:18-cv-00964-JAD-GWF Document
                                                               Document30-2 Filed11/19/18
                                                                        32 Filed  10/31/18 Page
                                                                                            Page23ofof23



                       1                The Court has reviewed the proposed Settlement Agreement, and finds that it is a fair and
                       2        reasonable resolution of the dispute and approves the Settlement Agreement. This Court shall retain
                       3        jurisdiction over this matter until the terms set forth in the Settlement Agreement have been
                       4        complied with.
                                                                             ORDER
                       5
                                   ITBased on the parties'ORDERED
                                      IS THEREFORE          stipulation that
                                                                         [ECF    No.
                                                                             theIT  IS30]
                                                                                  Joint   and
                                                                                         Motion
                                                                                        SO     good
                                                                                                 andcause
                                                                                            ORDERED.        appearing,
                                                                                                      Stipulation for anITOrder
                                                                                                                           IS HEREBY
                                                                                                                                Approving
                       6       ORDERED
                                Confidentialthat the Joint [ECF
                                              Settlement   Motion No.and30]
                                                                          Stipulation
                                                                            is GRANTED, for an Order  Approving
                                                                                               this action        Confidential
                                                                                                           is DISMISSED     withSettlement
                                                                                                                                 prejudice,
                       7       [ECF   No. 30] is GRANTED,        this action
                                and the Clerk of Court is directed to CLOSE   is DISMISSED
                                                                                 The THIS    CASE.and Stipulation for an Order Court is
                                                                                                 with
                                                                                      Joint Motion    prejudice, and  the Clerk  of
                               directed to CLOSE THIS CASE.                     ______________________________________
                                                                                 Approving Confidential Settlement [ECF No. 30] is
                       8                                                        UNITED
                                                                                 GRANTED,  STATES     DISTRICT
                                                                                                and the  Clerk of JUDGE
                                                                                                                  Court is directed to
                                                                                 CLOSE THIS CASE.
                       9
                                                                             DATED: _________________________________
                    10          ___________________
                                FIRMWIDE:158723843.1 081813.1003
                    11
                                                                                  _________________________________
                                                                                            ____
                                                                                               _ _________ ______
                                                                                                           __   _ _____ __
                    12
                                                                                  U.S. District
                                                                                            ict JJu
                                                                                                 Judge
                                                                                                  udg
                                                                                                    dge Jennifer A
                                                                                                                 A.. Do
                                                                                                                     D
                                                                                                                     Dorsey
                                                                                                                        rse
                    13                                                            Dated: November b 1818, 2018

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
LITTLER MENDELSON, P.C.
        ATTORNEYS AT LAW
                                                                                    2.
  3960 Howard Hughes Parkway
            Suite 300
   Las Vegas, NV 89169-5937
          702.862.8800
